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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 MARGARET E. WALSH, et al.,
       Plaintiffs,
       v.                                             Civil No. 09-1552 (ADC)
 POPULAR, INC., et al.,
       Defendants.
 NORMA MONTAÑEZ, et al.,
       Plaintiffs,                                    Civil No. 09-1646 (ADC)
       v.
 POPULAR, INC., et al.,
       Defendants.
 STEFFANI DOUGAN, et al.,
       Plaintiffs,                                    Civil No. 09-1682 (ADC)
       v.
 POPULAR, INC., et al.,
       Defendants.

                          ORDER FOR ENTRY OF JUDGMENT
       On March 12, 2012, the Court entered an Opinion and Order granting final approval
to the settlement agreement in the instant case. ECF No. 154. Accordingly, as no further
matters are pending, the Court directs the Clerk of Court to enter judgment in the instant case,
dismissing it with prejudice. The Court shall retain jurisdiction to enforce the terms of the
settlement agreement.
       IT IS SO ORDERED.
       At San Juan, Puerto Rico, this 2nd day of April, 2012.


                                                  S/AIDA M. DELGADO-COLÓN
                                                  Chief U.S. District Judge
